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                                                                                          May 31, 2024
                           IN THE UNITED STATES DISTRICT COURT                     LAURA A. AUSTIN, CLERK
                          FOR THE WESTERN DISTRICT OF VIRGINIA                       BY: s/J.Vasquez
                                     Harrisonburg Division

  SAMUEL JOSEPH ORLANDO,                        )
      Plaintiff,                                )       Civil Action No. 5:22-cv-00062
                                                )
  v.                                            )       ORDER
                                                )
  SHERIFF DONALD L. SMITH, et al.,              )       By:    Joel C. Hoppe
       Defendants.                              )              United States Magistrate Judge

  SAMUEL JOSEPH ORLANDO,                        )
      Plaintiff,                                )       Civil Action No. 5:23-cv-00012
                                                )
  v.                                            )       ORDER
                                                )
  BRISTOL NEAL, et al.,                         )       By:    Joel C. Hoppe
            Defendants.                                        United States Magistrate Judge

         Defendant Rebecca Byrd Neal, proceeding pro se, has filed motions for access to this

  Court’s Case Management/Electronic Case Filing (“CM/ECF”) system for these two cases.

  Orlando v. Smith, No. 5:22cv62 (W.D. Va. May 28, 2024), ECF No. 95; Orlando v. Neal, No.

  5:23cv12 (W.D. Va. May 28, 2024), ECF No. 148. Ms. Neal asks that she be permitted to file

  documents for herself and documents signed by Defendant Bristol Neal, who is also appearing

  pro se in both cases.

         The Court will permit Ms. Neal to use the Court’s Case Management/Electronic Case

  Files (“CM/ECF”) system, but she may not file documents on that system for any other party.

  Western District of Virginia General Local Rule 7(c) provides that the “filing of a … paper by an

  attorney [or unrepresented party] who is a registered participant in this Court’s CM/ECF system

  shall constitute the signature of that attorney [or unrepresented party] under Federal Rule of Civil

  Procedure 11 and for all other purposes.” Additionally, Local Rule 7(d) forbids a registered

  CM/ECF participant from allowing another person to use her password. Bristol Neal is not a



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  registered CM/ECF participant, and he is responsible for the representations contained in any

  paper that he has signed and that he presents to the Court. See Fed. R. Civ. P. 11. Accordingly,

  the rules do not permit Ms. Neal to electronically file papers on Bristol Neal’s behalf.

         For the foregoing reasons, Ms. Neal’s motions, are GRANTED IN PART, DENIED IN

  PART for these two cases only. Ms. Neal must register for CM/ECF and follow certain steps in

  order to use this Court’s CM/ECF system. See generally W.D. Va. Gen. R. 7. She will continue

  to receive—and must continue to serve—all documents in paper copy until the Clerk of this

  Court approves her CM/ECF application. Once properly registered, Ms. Neal shall be permitted

  to participate as an ECF filer in these two cases only, for herself only, and only as long as she is

  not represented by an attorney. She also must comply with W.D. Va. Local General Rule 7,

  which governs electronic filing in this Court.

         It is so ORDERED.

                                                        ENTER: May 31, 2024



                                                        Joel C. Hoppe
                                                        U.S. Magistrate Judge




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